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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________________
COREY SAMUEL,                                :
                                             :         CIVIL ACTION
                  Plaintiff,                 :
                                             :
            v.                               :         No. 19-2203
                                             :
TARGET REALTY, LLC, et al.                   :
                                             :
                  Defendants.                :
____________________________________________:


                                         ORDER

      AND NOW, this 13th day of October, 2021, upon consideration of Defendants’ Motion for

Summary Judgment (Doc. No. 38), Plaintiff’s Response (Doc. No. 41), and Defendants’ Reply

Brief (Doc. No. 42), it is hereby ORDERED that the Motion is GRANTED and JUDGMENT

IS ENTERED in favor of Defendants and against Plaintiff on all claims in the Complaint. The

Clerk of Court shall mark this case CLOSED.



                                         BY THE COURT:



                                         /s/ Mitchell S. Goldberg
                                         MITCHELL S. GOLDBERG, J.
